Case 1:14-cv-00377-LPS Document 652 Filed 08/15/17 Page 1 of 2 PageID #: 41787




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

INTEL CORPORATION,                                )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )   C.A. No. 14-377 (LPS)
                                                  )
FUTURE LINK SYSTEMS, LLC,                         )
                                                  )
                       Defendant.                 )

            STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       WHEREAS, Plaintiff and Counterclaim-Defendant Intel Corporation (“Intel”) and

Defendant and Counterclaimant Future Link Systems, LLC (“Future Link”) (collectively, “the

Parties”) have resolved all claims and counterclaims in this case, and have signed a written

settlement agreement, dated August 14, 2017.

       It is hereby stipulated by the Parties, through their attorneys of record, subject to the

approval of the Court, that:

       1.      All of the parties’ respective claims and counterclaims are dismissed with

               prejudice;

       2.      each party shall bear its own attorneys’ fees, costs, and expenses;

       3.      the Parties waive all rights of appeal; and

       4.      the Court retains jurisdiction to enforce the Parties’ written settlement agreement.
Case 1:14-cv-00377-LPS Document 652 Filed 08/15/17 Page 2 of 2 PageID #: 41788




MORRIS, NICHOLS, ARSHT & TUNNELL LLP            FARNAN LLP

/S/ JACK B. BLUMENFELD                          /S/ BRIAN E. FARNAN
______________________________________          ______________________________________
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August 15, 2017




SO ORDERED this ____ day of August, 2017.


                                   The Honorable Leonard P. Stark




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